Case 3:22-cv-08991-JSC Document 299-3 Filed 12/05/23 Page 1 of 5




                EXHIBIT C
                 Excerpt
        Case 3:22-cv-08991-JSC Document 299-3 Filed 12/05/23 Page 2 of 5



 1   Valarie C. Williams (Bar No. 335347)
     Tania Rice (Bar No. 294387)
 2   Alston & Bird LLP
     560 Mission Street, Suite 2100
 3
     San Francisco, CA 94105
 4   Telephone: (415) 243-1000
     valarie.williams@alston.com
 5   tania.rice@alston.com
 6   B. Parker Miller (pro hac vice)
 7   Alston & Bird LLP
     1201 West Peachtree Street, Suite 4900
 8   Atlanta, GA 30309
     Telephone: (404) 881-7000
 9   parker.miller@alston.com
10   Beth A. Wilkinson (pro hac vice)
11   Rakesh N. Kilaru (pro hac vice)
     Kieran Gostin (pro hac vice)
12   Anastasia M. Pastan (pro hac vice)
     Jenna Pavelec (pro hac vice)
13   Wilkinson Stekloff LLP
     2001 M Street NW, 10th Floor
14   Washington, DC 20036
15   Telephone: (202) 847-4000
     bwilkinson@wilkinsonstekloff.com
16   rkilaru@wilkinsonstekloff.com
     kgostin@wilkinsonstekloff.com
17   apastan@wilkinsonstekloff.com
     jpavelec@wilkinsonstekloff.com
18
     Counsel for Defendant Microsoft Corporation
19

20                                UNITED STATES DISTRICT COURT
21                              NORTHERN DISTRICT OF CALIFORNIA
22
     DANTE DEMARTINI, et al.,                              Case No. 22-cv-08991-JSC
23
           Plaintiffs,                                     MICROSOFT CORPORATION’S
24                                                         RESPONSES TO PLAINTIFFS’
                   v.                                      FOURTH SET OF REQUESTS FOR
25                                                         PRODUCTION OF DOCUMENTS
     MICROSOFT CORPORATION,
26                                                         Hon. Jacqueline Scott Corley
           Defendant.
27

28


                         MICROSOFT’S RESPONSES TO FOURTH SET OF REQUESTS FOR PRODUCTION OF DOCUMENTS
                                                                                   Case No. 3:22-cv-08991
         Case 3:22-cv-08991-JSC Document 299-3 Filed 12/05/23 Page 3 of 5




 1           Defendant Microsoft Corporation (“Microsoft”) hereby responds to Plaintiffs’ fourth set of
 2   requests for production of documents.
 3          Microsoft responds to the requests as it understands them. Discovery in this matter is
 4   ongoing and Microsoft reserves its rights to amend or supplement these responses.
 5   REQUEST FOR PRODUCTION NO. 15:
 6          All Communications to and from Satya Nadella, Brad Smith, Phil Spencer, Amy Hood, Matt
 7   Booty, or Tim Stuart related to the Merger.
 8   RESPONSE TO REQUEST FOR PRODUCTION NO. 15:
 9          Microsoft has agreed to reproduce the documents that it has produced to the FTC as part of
10   the FTC’s investigation in File No. 221-0077. As part of those productions, Microsoft has already
11   conducted a reasonable search and has produced or will produce responsive documents. The
12   individuals listed in this request were custodians whose records were already searched as part of that
13   search and production. That search and production included a search for documents relating to the
14   proposed merger. To the extent this request seeks documents beyond this agreed upon production,
15   Microsoft objects to this request as disproportional to the status and needs of the case.
16   REQUEST FOR PRODUCTION NO. 16:
17          All Documents and Communications related to making any Video Game, existing or in
18   development, exclusive to Microsoft’s Video Game Platforms and/or Multigame Library
19   Subscription Service and/or Cloud-Gaming Service, regardless of whether You made that Video
20   Game exclusive to any Video Game Platforms or subscription service.
21   RESPONSE TO REQUEST FOR PRODUCTION NO. 16:
22           Microsoft has agreed to reproduce the documents that it has produced to the FTC as part of
23   the FTC’s investigation in File No. 221-0077. As part of those productions, Microsoft has already
24   conducted a reasonable search and has produced or will produce responsive documents. That search
25   and production included a search for documents relating to “each occasion that the Company
26   considered, negotiated, and/or contracted with any Person for exclusive use of any Related Product
27   and/or Service [including gaming consoles, games, game subscription services, and cloud gaming
28   services] provided by that third party, including any timed or otherwise limited exclusivity” and
                                                         2
                        MICROSOFT’S RESPONSES TO FOURTH SET OF REQUESTS FOR PRODUCTION OF DOCUMENTS
                                                                                  Case No. 3:22-cv-08991
         Case 3:22-cv-08991-JSC Document 299-3 Filed 12/05/23 Page 4 of 5




 1   “decision-making processes (including, but not limited to, any modelling, analyses, or reports)
 2   relating to exclusivity (total or limited) for first-party video games.” To the extent this request seeks
 3   documents beyond this agreed upon production, Microsoft objects to this request as disproportional
 4   to the status and needs of the case.
 5   REQUEST FOR PRODUCTION NO. 17:
 6          All social media posts Satya Nadella, Brad Smith, Phil Spencer, Amy Hood, Matt Booty, or
 7   Tim Stuart made or otherwise disseminated in the past two years concerning Video Games,
 8   including but not limited to social media posts, recorded Twitch streams, and posts on forums, such
 9   as Reddit, irrespective of whether the post was through an oﬃcial account.
10   RESPONSE TO REQUEST FOR PRODUCTION NO. 17:
11          Microsoft objects to this request as disproportional to the status and needs of the case. It
12   further objections to this request as seeking material that is not relevant to any claim or defense.
13   Microsoft will not produce documents in response to this request.
14   REQUEST FOR PRODUCTION NO. 18:
15          All Communications and Documents related to Florian Mueller and the Merger.
16   RESPONSE TO REQUEST FOR PRODUCTION NO. 18:
17          Microsoft objects to this request as vague and ambiguous. It appears to call for documents
18   that are publicly available (e.g., articles published by non-party Florian Mueller). Microsoft further
19   objects to this request as calling for discovery that is irrelevant to any claim or defense and/or
20   disproportional to the needs and status of the case. Microsoft will not produce documents in
21   response to this request.
22   REQUEST FOR PRODUCTION NO. 19:
23          All Communications between You and Florian Mueller, including communications between
24   Florian Mueller and any Microsoft employees, since January 1, 2021.
25   RESPONSE TO REQUEST FOR PRODUCTION NO. 19:
26          Microsoft objects to this request as calling for discovery that is irrelevant to any claim or
27   defense and/or disproportional to the needs and status of the case. Microsoft will not produce
28   documents in response to this request.
                                                          3
                        MICROSOFT’S RESPONSES TO FOURTH SET OF REQUESTS FOR PRODUCTION OF DOCUMENTS
                                                                                  Case No. 3:22-cv-08991
       Case 3:22-cv-08991-JSC Document 299-3 Filed 12/05/23 Page 5 of 5




 1   DATED: July 13, 2023                 ALSTON & BIRD LLP
 2
                                          /s/ Valarie C. Williams
 3                                        Valarie C. Williams
                                          B. Parker Miller
 4                                        Tania Rice
 5                                        Attorneys for Defendant
                                          MICROSOFT CORPORATION
 6

 7

 8

 9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28
                                                  6
                   MICROSOFT’S RESPONSES TO FOURTH SET OF REQUESTS FOR PRODUCTION OF DOCUMENTS
                                                                             Case No. 3:22-cv-08991
